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                             Resumé of James E. Cecchi, Esq.

         I am a partner of Carella, Byrne, Cecchi, Brody & Agnello, P.C. based in Roseland, New
Jersey. I lead our complex litigation practice and focus my efforts on national class actions. I
graduated from Colgate University in 1986, with honors, and Fordham University School of Law in
1989. I was editor of the Colgate News and a member of the International Law Journal at Fordham.
Following law school, I clerked for the Honorable Nicholas H. Politan (1935-2012) in the District of
New Jersey from 1989 until 1991. Following my clerkship, I served in the United States Department
of Justice from 1991-1994 as an Assistant United States Attorney in Newark, New Jersey. At Justice,
I prosecuted large money laundering, drug importation, gun running and political corruption cases. I
tried numerous cases to verdict including a 13-defendant international heroin importation case where
the principal evidence consisted of intercepted telephone communications in the Ibo dialect. After
Justice, I joined my present firm and started our class action practice. I am a member of the New
Jersey, New York, and Pennsylvania bars, and am admitted to practice in the District Courts for the
District of New Jersey and the Southern and Eastern Districts of New York, the Courts of Appeal
for the Second and Third Circuits, and the U.S. Supreme Court. I am a trustee of the U.S. District
Court for the District of New Jersey Historical Society.

 I.     Representative MDL and Class Action Leadership Appointments

           a. Lead Counsel, In re: Liquid Aluminum Sulfate Antitrust Litigation, MDL No. 2687
              (D.N.J.) (Hon. Jose L. Linares, C.J.)
           b. Steering Committee, In re National Prescription Opiate Litig., MDL No. 2804 (N.D.
              Ohio)(Hon. Dan Polster)
           c. Steering Committee, In re: Volkswagen “Clean Diesel” Marketing, Sales Practices, and
              Products Liability Litigation, 3:15-md-02672 (N.D. Cal.) (Hon. Charles R. Breyer)
           d. Steering Committee, In re: Takata Airbag Products Liability Litigation, MDL No. 2599
              (S.D. Fla.) (Hon. Federico A. Moreno)
           e. Co-Lead Counsel, In re: Mercedes-Benz Emissions Litigation, 2:16-cv-00881 (D.N.J.)
              (Hon. Jose L. Linares, C.J.)
           f. Liaison Counsel/Co-Lead Counsel, In re: Caterpillar, Inc., C13 And C15 Engine
              Products Liability Litigation, MDL No. 2540 (D.N.J.) (Hon. Jerome B. Simandle)
           g. Co-Lead Counsel, In re: Volkswagen Timing Chain Product Liability Litigation, 2:16-cv-
              02765 (D.N.J.) (Hon. Jose L. Linares, C.J.)
           h. Liaison Counsel, In re FieldTurf Artificial Turf Mktg. and Sales Practices Litig., MDL
              No. 2779 (D.N.J.)(Hon. Michael A. Shipp)
           i. Liaison Counsel, In re Invokana (Canagliflozin) Prods. Liab. Litig., MDL No. 2750
              (D.N.J.)
           j. Liaison Counsel, In re: Schering-Plough/Enhance Securities Litigation, (D.N.J.) (Hon.
              Dennis M. Cavanaugh)
           k. Liaison Counsel, In re: Merck & Co., Inc. Vytorin/Zetia Securities Litigation, (D.N.J.)
              (Hon. Dennis M. Cavanaugh)
           l. Chair, Plaintiffs’ Executive Committee, In re: Effexor XR Antitrust Litigation,
              (D.N.J.) (Hon. Peter G. Sheridan)
           m. Co-Lead Counsel, In re: Mercedes-Benz Tele-Aid Contract Litigation, MDL No. 1914,
              (D.N.J.) (Hon. Dickinson R. Debevoise)
           n. Plaintiffs’ Executive Committee, In re: Rail Freight Fuel Surcharge Antitrust Litigation,
              MDL No. 1969 (D.D.C.) (Hon. Paul L. Friedman)
           o. Co-Lead Counsel, In re: Vytorin/Zetia Marketing, Sales Practices and Products
              Liability Litigation, MDL No. 1938 (D.N.J.) (Hon. Dennis M. Cavanaugh)
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            p. Co-Lead Counsel, In re: Medco/Express Scripts Merger Litigation, 2:11-cv-4211
                (D.N.J.) (Hon. Dennis M. Cavanaugh)
            q. Liaison Counsel, In re: Elk Cross Timbers Decking Marketing, Sales Practices And
                Products Liability Litigation, MDL No. 2577 (D.N.J.) (Hon. Jose L. Linares)
            r. Liaison Counsel, In re: Azek Decking Sales Practices Litigation, MDL No. 2506
                (D.N.J.) (Hon. Madeline Cox Arleo)
            s. Plaintiffs’ Executive Committee, Settlement Liaison Counsel, In re: Aetna UCR
                Litigation, MDL No. 2020 (D.N.J.) (Hon. Katharine S. Hayden)
            t. Co-Lead Counsel, In re: Tropicana Orange Juice Marketing And Sales Practices Litigation,
                MDL No. 2353 (D.N.J.) (Hon. William J. Martini)
            u. Co-Lead Counsel, In re: Simply Orange Orange Juice Marketing And Sales Practices
                Litigation, MDL No. 2361 (W.D. Mo.) (Hon. Fernando J. Gaitan, Jr.)
            v. Co-Lead Counsel, Luppino v. Mercedes-Benz USA LLC, (D.N.J.) (Hon. Jose L. Linares)
            w. Liaison Counsel, In re: Vehicle Carrier Services Antitrust Litigation, MDL No. 2471
                (D.N.J.) (Hon. Esther Salas)
            x. States’ Counsel, Allapattah Services, Inc. v. Exxon Corporation, Case No. 91-0986-Civ-
                Gold. (S.D. Fla.) (Hon. Alan S. Gold)
            y. Co-Lead Counsel, Davis Landscape v. Hertz Equipment Rental Corporation, (D.N.J)
                (Hon. Dennis M. Cavanaugh)
            z. Co-Lead Counsel, The County of Monroe, Florida v. Priceline.com, (S.D.Fla.) (Hon.
                K. Michael Moore, C.J.)
            aa. Co-Lead Counsel, In re: Virgin Mobile USA IPO Litigation, (D.N.J) (Hon.
                Susan D. Wigenton)
            bb. Co-Lead Counsel, Sampang, et al. v. AT&T Mobility LLC, et al., (D.N.J.) (Hon.
                Jose L. Linares)
            cc. Co-Lead Counsel, Simon v. KPMG, (D.N.J.) (Hon. Dennis M. Cavanaugh)

 II.     Experience in Other Technical Litigation
         My firm’s team has unique skills and experience that benefit our clients in complex technical
litigation. By way of example only, a number of the attorneys at Carella, Byrne are registered to
practice before the U.S. Patent and Trademark Office and several have degrees and experience in
chemical, electrical, mechanical and biomedical engineering, which may benefit the plaintiffs, my co-
counsel, and the Court in this litigation. Representative cases include: Aventis v. Teva Pharmaceuticals,
Civil Action No. 07-2454 (JAG) (Allegra); Schering v. Ivax Corporation, Civil Action No. 00-2931
(Claritin); Eli Lilly and Co. v. Actavis Elizabeth LLC et. al., Civil Action No. 07-770; Connetics v. Agis
Industries, Civil Action No. 05-5038 (GEB) (Olux); Merck & Co. v. Apotex, Civil Action No. 06-5789
(MLC) (Trusopt); Janssen Pharmaceutica v. Apotex, Civil Action No. 06-1020 (DMC) (Risperidone);
Cephalon v. Mylan Pharmaceuticals, et al., Civil Action No. 03-1394 (JCL) (Provigil); Celgene Corp. v. Barr
Laboratories, Civil Action No. 07-286 (SDW) (Thalomid); Novartis Corp., et al. v. Lupin Ltd., Civil
Action No. 06-5954 (HAA); Savient Pharmaceuticals v. Sandoz, et al., Civil Action No. 0605782 (PGS)
(Oxandrolone).
 III.    Other Pursuits and Activities
        In my private life, I am a competitive half-marathon runner in my age group. I am Chairman
of the Onteora Theatre Committee, which produces community theatre productions in the Catskill
Mountains, both for children and adults. I am a member of the Board of Directors of 23a Arts, a
non-profit dedicated to improving upstate New York communities through music and the
performing arts. I am a member of the District Court Historical Society and a member of Tiro A
Segno, the Oldest Italian American Club in the United States.
